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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )
                                                   )      8:06CR312
       vs.                                         )
                                                   )      PRELIMINARY ORDER
JAVIER GALVAN-DUQUE,                               )      OF FORFEITURE
MARIO AYALA-RENYA,                                 )
                                                   )
                     Defendants.                   )



       NOW ON THIS 7th day of May, 2007, this matter comes on before the Court upon

the United States' Motion for Issuance of Preliminary Order of Forfeiture and Memorandum

Brief. The Court reviews the record in this case and, being duly advised in the premises,

finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed

to plead guilty to Counts VII, IX, X and XI of said Superceding Indictment. Count IX

charges the Defendant, Javier Galvan-Duque, with one count of possessing with intent to

distribute cocaine, in violation of 21 U.S.C. §§ 841(a)(1)&(b)(1). Count VII charges the

Defendant, Mario Ayala-Reyna, with one count of possessing with intent to distribute

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1)&(b)(1). Counts X and XI of said

Superceding Indictment sought the forfeiture, pursuant to 21 U.S.C., § 853, of $33,540.00,

$3,900.00 and a 1999 Jeep Grand Cherokee Limited, VIN 1J4GW68N7XC672415, on the

basis they were used or were intended to be used to facilitate said controlled substance

violation and/or were derived from proceeds obtained directly or indirectly as a result of the

commission of said controlled substance violation.
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       2. By virtue of said pleas of guilty, the Defendants forfeit their interest in the subject

properties, and the United States should be entitled to possession of said properties,

pursuant to 21 U.S.C., § 853.

       3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should

be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is

hereby sustained.

       B. Based upon Counts X and XI of the Superceding Indictment and the Defendants’

pleas of guilty, the United States Marshal for the District of Nebraska ("Marshal") is hereby

authorized to seize the following-described properties: $33,540.00, $3,900.00 and a 1999
Jeep Grand Cherokee

Limited, VIN 1J4GW68N7XC672415

       C. The Defendants’ interest in said properties is hereby forfeited to the United

States of America for disposition in accordance with the law, subject to the provisions of

21 U.S.C., § 853(n)(1).

       D. The aforementioned forfeited properties are to be held by the Marshal in his

secure custody and control.

       E. Pursuant to 21 U.S.C., § 853(n)(1), the Marshal forthwith shall publish at least

once for three successive weeks in a newspaper of general circulation, in the county where

the subject properties are situated, notice of this Order, notice of the Marshal's intent to

dispose of the properties in such manner as the Attorney General may direct, and notice

that any person, other than the Defendants, having or claiming a legal interest in any of the


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subject forfeited properties must file a Petition with the court within thirty (30) days of the

final publication of notice or of receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

properties, shall be signed by the Petitioner under penalty of perjury, and shall set forth the

nature and extent of the Petitioner's right, title or interest in the subject properties and any

additional facts supporting the Petitioner's claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the properties subject to this

Order as a substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

       ORDERED this       7th day of May, 2007.


                                                   BY THE COURT:



                                                   s/Joseph F. Bataillon
                                                   Chief United States District Judge




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